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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 MENNONITE CHURCH USA, et al.,

                 Plaintiffs,

         v.
                                                         No. 25-cv-00403 (DLF)
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al.,

                 Defendants.


                                            ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is

        ORDERED that the plaintiffs’ Motion for a Preliminary Injunction, Dkt. 11, is DENIED.

It is further

        ORDERED that the parties shall file a joint status report proposing a schedule for further

proceedings on or before April 21, 2025.

        SO ORDERED.




                                                            ________________________
                                                            DABNEY L. FRIEDRICH
                                                            United States District Judge
April 11, 2025
